                               United States Court of Appeals
                                      For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South 10th Street, Room 24.329
                                     St. Louis, Missouri 63102
                                                                             VOICE (314) 244-2400
Michael E. Gans
                                                                               FAX (314) 244-2780
 Clerk of Court
                                                                             www.ca8.uscourts.gov



                                        MEMORANDUM


TO:               Mr. Rob Phelps

FROM:             Michael E. Gans, Clerk of Court

DATE:             October 21, 2008

RE:               07-1306 United States v. Robert Wilson, Jr.

                  District Court/Agency Case Number(s): 2:04-cr-01004-LRR-2

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       Enclosed is a letter received from the United States Supreme Court stating that an order
has been filed granting certiorari in the above case.



CMD




      Case 2:04-cr-01004-LRR-MAR Document 307-2 Filed 10/21/08 Page 1 of 1
